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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

    In re:                               )                   Chapter 11
                                         )
    Zohar III, Corp., et al.,1           )                   Case No. 18-10512 (KBO)
                                         )
                   Debtors.              )                   (Jointly Administered)
    ____________________________________ )
                                         )
    LYNN TILTON; PATRIARCH               )
    PARTNERS VIII, LLC; PATRIARCH        )
    PARTNERS XIV, LLC; PATRIARCH         )
    PARTNERS XV, LLC; OCTALUNA, LLC; )
    OCTALUNA II, LLC; AND OCTALUNA       )
    III, LLC,                            )                   Adv. Proc. No. 19-50390 (KBO)
                                         )
                   Plaintiffs,           )
                                         )
    v.                                   )
                                         )
    MBIA INC., MBIA INSURANCE            )
    CORPORATION, U.S. BANK, N.A.,        )
    ALVAREZ & MARSAL ZOHAR               )
    MANAGEMENT, CREDIT VALUE             )
    PARTNERS, LP, BARDIN HILL            )
    INVESTMENT PARTNERS F/K/A            )
    HALCYON CAPITAL MANAGEMENT           )
    LP, COÖPERATIEVE RABOBANK U.A., )
    VÄRDE PARTNERS, INC., ASCENSION      )
    ALPHA FUND LLC, ASCENSION            )
    HEALTH MASTER PENSION TRUST,         )
    CAZ HALCYON OFFSHORE                 )
    STRATEGIC OPPORTUNITIES FUND,        )
    L.P., CAZ HALCYON STRATEGIC          )
    OPPORTUNITIES FUND, L.P., BROWN      )
    UNIVERSITY, HCN LP, HALCYON          )
    EVERSOURCE CREDIT LLC, HLF LP,       )
    HLDR FUND I NUS LP, HLDR FUND I      )
    TE LP, HLDR FUND I UST LP,           )
    HALCYON VALLÉE BLANCHE               )

1
 The Debtors, and, where applicable, the last four digits of their respective taxpayer identification numbers
are as follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724),
Zohar III, Limited (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The
Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New York, NY 10036.


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    MASTER FUND LP, BARDIN HILL                         )
    EVENT DRIVEN MASTER FUND LP,                        )
    PRAETOR FUND I, A SUB FUND OF                       )
    PRAETORIUM FUND I ICAV; HIRTLE                      )
    CALLAGHAN TOTAL RETURN                              )
    OFFSHORE FUND LIMITED; HIRTLE                       )
    CALLAGHAN TOTAL RETURN                              )
    OFFSHORE FUND II LIMITED; HIRTLE                    )
    CALLAGHAN TRADING PARTNERS,                         )
    L.P.; AND THIRD SERIES OF HDML                      )
    FUND I LLC.,                                        )
                                                        )
                     Defendants.                        )
                                                        )

                       MEMORANDUM ORDER GRANTING PLAINTIFFS’
                            MOTION TO AMEND COMPLAINT

      Upon consideration of the Plaintiffs’ Motion to Amend Complaint [Adv. D.I. 138] (the
“Motion to Amend”) and all briefing and submissions filed in support of and in opposition to the
Motion to Amend; it is hereby FOUND and DETERMINED that:

       A.      The Court has subject matter jurisdiction over this adversary proceeding pursuant
to 28 U.S.C. §§ 157(a) and 1334(b). Venue is proper pursuant to 28 U.S.C. § 1409(a).

        B.      On October 1, 2019, Plaintiffs2 commenced this action by filing a one count
           3
Complaint against Defendants MBIA, Inc., MBIA Insurance Corporation (“MBIA Insurance,”
and together with MBIA, Inc., “MBIA”), U.S. Bank, N.A. (“US Bank”), Alvarez & Marsal Zohar
Management (“AMZM”), and the Zohar III Controlling Class4 to equitably subordinate their
claims against the above-captioned debtors (the “Debtors”) pursuant to 11 U.S.C. § 510(c). Each
Defendant moved to dismiss the Complaint under Rule 12(b)(6) of the Federal Rules of Civil
Procedure (the “Federal Rules”), made applicable to this adversary proceeding by Rule 7012 of
the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).5 Briefing on the motions
was completed on March 9, 2021.6 Oral argument was scheduled for October 27, 2021 and
subsequently cancelled after Plaintiffs notified the Court a day prior that they intended to seek
leave to amend the Complaint. A little over a week later, the Plaintiffs filed the Motion to Amend




2
    Undefined capitalized terms shall have the meanings ascribed to them in the Motion to Amend.
3
    Adv. D.I. 2.
4
    The Zohar III Controlling Class refers to all Defendants except for MBIA, US Bank, and AMZM.
5
    Adv. D.I. 64, 66, 67, 81.
6
    Adv. D.I. 65, 68, 69, 70, 71, 82, 103, 107, 109, 110, 111.


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pursuant to Federal Rule 15(a) and Bankruptcy Rule 7015. The Zohar III Controlling Class and
MBIA oppose the Motion to Amend.7

        C.       Federal Rule 15 “embodies a liberal approach to pleading.” Arthur v. Maersk, Inc.,
434 F.3d 196, 202 (3d Cir. 2006) (citing Bensel v. Allied Pilots Ass’n, 387 F.3d 298, 310 (3d Cir.
2004), cert. denied, 544 U.S. 1018 (2005)). “Subsection (a) allows a party to amend a complaint
upon leave of court and states that leave ‘shall be freely given when justice so requires.’” Id. at
202 (quoting FED. R. CIV. P. 15(a)). “This standard encompasses a broad range of equitable
factors” that include undue delay, bad faith, and prejudice to the defendant. Id. at 203; see also
Foman v. Davis, 371 U.S. 178, 182 (1962) (“In the absence of any apparent or declared reason –
such as undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to cure
deficiencies by amendments previously allowed, undue prejudice to the opposing party by virtue
of allowance of the amendment, futility of amendment, etc. – the leave sought should, as the rules
require, be ‘freely given.’”). “Only when these factors suggest that amendment would be ‘unjust’
should the court deny leave.” Arthur, 434 F.3d at 203. In analyzing whether leave should be
denied as unjust, “prejudice to the non-moving party is the touchstone[.]” Id. at 204 (quoting
Cornell & Co. v. Occupational Safety & Health Review Comm’n, 573 F.2d 820, 823 (3d Cir.
1978)).

          D.      The Court finds that the Plaintiffs’ request to amend would not be unjust. It came
in the early stage of this proceeding. Although pending for just over 2 years, the proceeding stood
still for 1 year because of party-agreement and the Defendants’ request to stay it until the resolution
of related matters outside this Court. No responsive pleadings have been filed, and discovery has
not begun. Motions to dismiss are pending but the Court has not yet heard argument on them due
to the Plaintiffs’ candor in disclosing their intent to seek leave to amend.

       E.      Furthermore, the proposed amendments are narrowly tailored, substantially
designed to provide additional detail to allegations of the Complaint concerning postpetition
conduct of MBIA and the Zohar III Controlling Class during a time period in which mediation
took place. The Plaintiffs have represented to the Court that they seek to augment the Complaint
with these details – that, admittedly, have been known to them for quite some time – in light of the
Court’s recent rulings on the scope of mediation confidentiality and the procedure for disclosure.
The Court finds this justification reasonable and that the Plaintiffs acted timely in seeking leave to
amend. Additionally, the Court cannot find any meaningful prejudice to the Defendants. As noted,
the proceeding is in its nascent stage. The Court does not ignore the additional cost and time that
will be incurred in responding to the Amended Complaint but the drafting and submission of
renewed motions to dismiss should not be overly cumbersome or cause substantial delay to the
proceedings given the limited scope of the amendments.




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  Adv. D.I. 142, 143. US Bank and AMZM are unaffected by the Plaintiffs’ proposed amendments. Both
parties submitted letters taking no position on the Motion to Amend but requesting that the Court move
forward on their pending motions to dismiss. Adv. D.I. 140, 141. The Court is willing to do so following
the filing of the Amended Complaint if the parties agree to re-file the motions and briefing or to deem it
applicable to the Amended Complaint.


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        F.     Finally, MBIA and the Zohar III Controlling Class argue that the proposed
amendments will be futile and refer the Court to their arguments set forth in their pending motions
to dismiss. The Plaintiffs’ proposed amendments significantly supplement some of the
Complaint’s allegations. The pending motions to dismiss present numerous complex issues. And
oral argument has not yet occurred. In light of these factors, the Court will refrain from deciding
the merits of any pending motions to dismiss, preferring to wait until after the filing of the
Amended Complaint, completed briefing on any renewed dismissal requests that address the
amendments, and argument thereon. See, e.g., Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)
(explaining that every court has the inherent power “to control the disposition of the causes on its
docket with economy of time and effort for itself, for counsel, and for litigants.”); Curtiembre
Becas, S.A. v. Arpel Leather Corp., No. 1:05-CV-622, 2006 WL 8446029, at *3 (M.D.N.C. June
12, 2006) (“[I]n the context of futility arguments, it is often a better exercise of the court’s
discretion and a conservation of judicial resources to leave decisions on the merits with respect to
motions to amend until the matter has been fully briefed in a motion to dismiss. Thus, in ruling
on a motion to amend, a court should only delve into the merits when it is absolutely clear that the
amendment is frivolous.”).

        Accordingly, based upon the foregoing, there is nothing in the record that warrants denial
of the Plaintiffs’ Motion to Amend, and it is therefore ORDERED that:

       1.      The Motion to Amend is GRANTED as provided herein.

        2.     The Plaintiffs are authorized to file their Amended Complaint in the form attached
to the Motion to Amend as Exhibit B.

       3.     The Amended Complaint shall be filed within 7 business days after the entry of this
Order. Within 14 days thereafter, the parties shall meet and confer regarding a briefing schedule
governing any renewed motions to dismiss intended to be filed by the Defendants and file an order
memorializing the agreed upon schedule under Certification of Counsel.

       4.      If the Plaintiffs, US Bank, and AMZM agree that, in lieu of filing new motions to
dismiss the Amended Complaint, the Court may consider the fully briefed, pending motions to
dismiss filed by US Bank and AMZM (Adv. D.I. 64 & 81), the parties need not re-file the
documents. The parties may indicate such decision in any proposed scheduling order and request
the scheduling of oral argument on such motions any time after such order is filed.



Dated: December 16, 2021                      ______________________________________
                                              THE HONORABLE KAREN B. OWENS
                                              UNITED STATES BANKRUPTCY JUDGE




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